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                   The Institution of Forensic Medicine

Based on the external examination / autopsy (delete that which is not applicable), the findings
according to the photographs below are an integral part of Report No. 1087/576/90
Consistent with the report on the deceased Jamil Musa Hama Manatzra

Picture Number 1
The upper body from the
front left




Picture Number 2
The middle body from
the front left




Picture Number 3


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Picture Number 1
The abdomen and pelvis
from the front right.




Picture Number 2
The abdomen and pelvis
from the left.




Picture Number 3            [
Right hand.

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Picture Number 2
The abdomen and pelvis
from the left.




Picture Number 3
Right hand.




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Picture Number 1
Head and neck from the
front left.




Picture Number 2
Neck and left shoulder.




Picture Number 3
Thorax and abdomen,
from the front right.

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